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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 UNITED STATES OF AMERICA,

 vs.                                                    CASE NO. 8:91-CR-300-T-17-TGW


 NORMAN BURGESS
                                            /
                                                ORDER

        This cause comes before the Court on the defendant’s motion for modification of
 sentence, the requested modification was based on the retroactive application of revised cocaine
 base sentencing guidelines (Docket No. 898). The Court appointed counsel in this case and
 required responses from the United States Probation Office, the government, and the defendant,
 through his appointed counsel. The Court has received and reviewed the responses (Docket Nos.
 904 and 909 and Probation’s Amended Retroactive Crack Cocaine Amendment Eligibility
 Assessment). The government and probation concur that the defendant is not eligible for a
 reduction in sentence based on the amended guidelines, based on the quantity of drugs for which
 the defendant was responsible. The defendant otherwise argues. The Court agrees with the
 position of the government and the probation office. Accordingly, it is.
        ORDERED that defendant’s motion for modification of sentence, the requested
 modification was based on the retroactive application of revised cocaine base sentencing
 guidelines (Docket No. 898) be denied.
        DONE AND ORDERED in Chambers in Tampa, Florida this 31st day of July, 2012.




 Copies furnished to: All Parties and Counsel of Record
